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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

GREAT FALLS DIVISION
UNITED STATES OF AMERICA, CR 07-139-GF-BMM-JTJ
Plaintiff, FINDINGS AND
RECOMMENDATIONS
VS.
SETH AMOS NELSON,

Defendant.

 

 

I. Synopsis
Defendant Seth Amos Nelson (Nelson) has been accused of violating the
conditions of his supervised release. Nelson denied alleged violations 1, 2 and 3.
Nelson admitted alleged violation 4. The government failed to satisfy its burden
of proof with respect to alleged violations 1, 2 and 3. Nelson’s supervised release
should be revoked. Nelson should be placed in custody for 12 months and | day,
with no supervised release to follow.
II. Status
Nelson pleaded guilty on February 12, 2008, to Conspiracy to Manufacture
Methamphetamine, and being a Felon in Possession of a Firearm. (Doc. 34). The

Court sentenced Nelson to 188 months of custody, followed by 6 years of
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supervised release. (Doc. 66). Nelson’s current term of supervised release began
on December 23, 2020. (Doc. 159 at 2).

Petition

The United States Probation Office filed a Petition on September 14, 2021,
requesting that the Court revoke Nelson’s supervised release. (Doc. 159). The
Petition alleged that Nelson had violated the conditions of his supervised release
by using methamphetamine on four separate occasions.

Initial appearance

Nelson appeared before the undersigned for his initial appearance on
September 28, 2021. Nelson was represented by counsel. Nelson stated that he
had read the petition and that he understood the allegations. Nelson waived his
right to a preliminary hearing. The parties consented to proceed with the
revocation hearing before the undersigned.

Revocation hearing

The Court conducted a revocation hearing on September 28, 2021. Nelson
denied alleged violations 1, 2 and 3. Nelson admitted alleged violation 4. The
government failed to satisfy its burden of proof with respect to alleged violations
1,2 and 3. The violation that Nelson admitted is serious and warrants revocation

of his supervised release.
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Nelson’s violation is a Grade C violation. Nelson’s criminal history
category is IV. Nelson’s underlying offenses are Class B and Class C felonies.
Nelson could be incarcerated for up to 36 months. Nelson could be ordered to
remain on supervised release for up to life. The United States Sentencing
Guidelines call for a term of custody of 6 to 12 months.

III. Analysis

Nelson’s supervised release should be revoked. Nelson should be
incarcerated for 12 months and | day, with no supervised release to follow. This
sentence is sufficient but not greater than necessary.

IV. Conclusion

The Court informed Nelson that the above sentence would be recommended
to United States District Judge Brian Morris. The Court also informed Nelson of
his right to object to these Findings and Recommendations within 14 days of their
issuance. The Court explained to Nelson that Judge Morris would consider a
timely objection before making a final determination on whether to revoke his
supervised release and what, if any, sanction to impose.

The Court FINDS:

That Seth Amos Nelson violated the conditions of his supervised release by
using methamphetamine.
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The Court RECOMMENDS:
That the District Court revoke Nelson’s supervised release
and commit Nelson to the custody of the United States Bureau of

Prisons for 12 months and 1 day, with no supervised release to
follow.

NOTICE OF RIGHT TO OBJECT TO FINDINGS AND
RECOMMENDATIONS AND CONSEQUENCES OF FAILURE TO OBJECT
The parties may serve and file written objections to the Findings and

Recommendations within 14 days of their entry, as indicated on the Notice of
Electronic Filing. 28 U.S.C. § 636(b)(1). A United States district court judge will
make a de novo determination regarding any portion of the Findings and
Recommendations to which objection is made. The district court judge may accept,
reject, or modify, in whole or in part, the Findings and Recommendations. Failure to
timely file written objections may bar a de novo determination by the district court
judge, and may waive the right to appear and allocute before a district court judge.

DATED this 29th day of September, 2021.

 

CG
wi Johnston ——-—
United States Magistrate Judge
